         Entered on Docket October 11, 2023            Below is the Order of the Court.



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                                                       Marc Barreca
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                                                       U.S. Bankruptcy Judge
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                                                       (Dated as of Entered on Docket date above)


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 8
                    UNITED STATES BANKRUPTCY COURT
 9              WESTERN DISTRICT OF WASHINGTON AT SEATTLE

10    In re:                                     Chapter 11
11
      HWC Burbs Burgers LLC                      Case No. 23-11919-MLB
12
                                                 ORDER SETTING STATUS
13                               Debtor.         CONFERENCE AND DEADLINE
                                                 TO FILE CLAIMS
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15         The Debtor has elected to be a debtor under subchapter V of chapter 11.

16   Accordingly, it is ORDERED that:

17         1.     The status conference required by 11 U.S.C. § 1188(a) (“Conference”)

18   shall be held on December 7, 2023, at 11:00 a.m. in the U.S. Courthouse, 700

19   Stewart Street, Courtroom 7106, Seattle, WA 98101.

20         2.     The Debtor, the Debtor’s attorney and the trustee shall attend the

21   Conference. Attendance by creditors or other interested parties is strictly voluntary.

22   Telephonic appearance at the Conference may be requested by letter.

23         3.     The Debtor shall prepare, file, and serve the report required by 11

24   U.S.C. § 1188(c) by November 22, 2023. The trustee and any party in interest may

25   respond to the Debtor’s report not later than November 30, 2023.



     ORDER SETTING STATUS CONFERENCE
     AND DEADLINE TO FILE CLAIMS - 1

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           4.     Pursuant to Fed. R. Bankr. P. 3003(c)(3), the last day to file proofs of
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     claim or equity security interest is December 15, 2023 (“Claim Deadline”).
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           5.     By October 19, 2023, the Debtor shall prepare, file, and serve on all
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     creditors, equity security holders and other parties in interest a notice of the Claim
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     Deadline.
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           6.     By October 19, 2023, the Debtor shall prepare and file a proof of service
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     demonstrating compliance with paragraph 5 of this Order.
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                                      /// End of Order ///
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     ORDER SETTING STATUS CONFERENCE
     AND DEADLINE TO FILE CLAIMS - 2

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